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                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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10   JOHN LEE HODGE,
                                              NO. CR. 1-91-0116 WBS
11               Petitioner,
                                                         ORDER
12        v.
13   UNITED STATES OF AMERICA,
14               Respondent.
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17               The court has read and considered Hodge's Motion for
18   Reconsideration of this court's order denying his Rule 60(b)
19   motion.   His contention that his plea of nolo contendere was not
20   an adjudication of guilt is simply wrong.        For the reasons
21   previously stated, the court's previous order was correct, and
22               IT IS THEREFORE ORDERED that Hodge's motion for
23   reconsideration of this court's order denying his Rule 60(b)
24   motion be, and the same hereby is, DENIED.
25   DATED:    September 11, 2007
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